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                      IN THE UNITED STATES DISTRICT COURT FOR THE

                                   EAST ERN DlS'nUCT 01' VIRGINIA

                                              Richmond Division


   UNITED STATES OF AMERICA

          V.                                               Criminal No. 3:24-cr-122-RCY-l


   WILLIAM THOMAS MORTON, JR„

                A.k.a. “Skillet,
                                   95




                               Defendant.



                                             PLEA AGREEMENT


         Jessica D. Aber, United States Attorney for the Eastern District of Virginia; undersigned

  counsel for the United States; the defendant, WILLIAM THOMAS MORTON, JR., A.K.A.

  ’SKILLET,” and the defendant’s counsel have entered into an agreement pursuant to Rule 11 of

  the Federal Rules of Criminal Procedure. The terms of this Plea Agreement are as follows:


         1.      Offense and Maximum Penalties


         The defendant agrees to plead guilty to Count One and Count Seven of the pending

  Indictment. Count One of the Indictment charges the defendant with conspiracy to traffic

  firearms in violation of 18 U.S.C. § 933(a)(3) and (b). The maximum penalties for this offense

  are imprisonment up to 15 years, a $250,000 fine, no more than 3 years of supervised release,

  and a special assessment pursuant to 18 U.S.C. § 3013. Count Seven of the Indictment charges

  the defendant with distribution of cocaine, a Schedule II controlled substance, in violation of 21

  U.S.C. § 841(a)(1) and (b)(1)(C). The maximum penalties for this offense are imprisonment up

  to 20 years, a fine of up to $1,000,000, at least 3 years of supervised release, and a special

  assessment pursuant to 18 U.S.C. § 3013. The defendant understands that any term of

  supervised release is in addition to any prison term the defendant may receive, and that a
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  violation of a condition of supervised release could result in the defendant being returned to

  prison for the full term of supervised release.

         2.      Detention Pending Sentencing

         The defendant understands that this case is governed by 18 U.S.C. §§ 3143(a)(2) and

  3145(c). These provisions provide that a judicial officer shall order that a person who has been

  found guilty of an offense of this kind be detained unless there are statutory justifications why

  such person’s detention would not be appropriate.

         3.      Factual Basis for the Plea


         The defendant will plead guilty because the defendant is in fact guilty of the charged

  offenses. The defendant admits the facts set forth in the Statement of Facts filed with this Plea


  Agreement and agrees that those facts establish guilt of the offenses charged beyond a reasonable

  doubt. The Statement of Facts, which is hereby incorporated into this Plea Agreement,

  constitutes a stipulation of facts for purposes of Section 1B1.2(c) of the Sentencing Guidelines.

         4.      Assistance and Advice of Counsel


         The defendant is satisfied that the defendant’s attorney has rendered effective assistance.

  The defendant understands that by entering into this Plea Agreement, defendant surrenders

  certain rights as provided in this agreement. The defendant understands that the rights of

  criminal defendants include the following:

                 a.      the right to plead not guilty and to persist in that plea;

                 b.      the right to a jury trial;

                 c.      the right to be represented by counsel—and, if necessary, have the court
                         appoint counsel—at trial and at every other stage of the proceedings; and

                 d.      the right at trial to confront and cross-examine adverse witnesses, to be
                         protected from compelled self-incrimination, to testify and present
                         evidence, and to compel the attendance of witnesses.



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           5.     Sentencing Guidelines, Recommendations, and Roles

           'I'he defendant understands that the Couit has jurisdiction and authority to impose any

  sentence within the statutory maximum described above, but that the Court will determine the

  defendant’s actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

  that the Court has not yet determined a sentence and that any estimate of the advisory sentencing

  range under the U.S. Sentencing Commission’s Sentencing Guidelines Manual the defendant

  may have received from the defendant’s counsel, the United States, or the Probation Office, is a

  prediction, not a promise, and is not binding on the United States, the Probation Office, or the

  Court. Additionally, pursuant to the Supreme Court’s decision in United States v. Booker, 543

  U.S. 220 (2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

  impose a sentence above or below the advisory sentencing range, subject only to review by

  higher courts for reasonableness. The United States makes no promise or representation

  concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty

  plea based upon the actual sentence.

           The United States and the defendant agree that the defendant has assisted the government

  in the investigation and prosecution of the defendant’s own misconduct by timely notifying

  authorities of the defendant’s intention to enter a plea of guilty, thereby permitting the

  government to avoid preparing for trial and permitting the government and the Court to allocate

  their resources efficiently. If the defendant qualifies for a two-level decrease in offense level

  pursuant to U.S.S.G. § 3E1.1(a) and the offense level prior to the operation of that section is a

  level 16 or greater, the government agrees to file, pursuant to U.S.S.G. § 3El.l(b), a motion prior

  to, or at the time of, sentencing for an additional one-level decrease in the defendant’s offense

  level.




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         The United Slates and the defendant have not agreed on any further sentencing issues,

  whether related to the Sentencing Guidelines or the factors listed in 18 U.S.C. § 3553(a), other

  than those set forth above or elsewhere in this Plea Agreement.   Accordingly, any such

  determinations will be made by the Court at sentencing.

         6.      Waiver of Appeal, FOIA, and Privacy Act Rights

         The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

  appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal

  the conviction and any sentence within the statutory maximum described above (or the manner in

  which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any

  ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

  direct appeal, in exchange for the concessions made by the United States in this Plea Agreement.

  This agreement does not affect the rights or obligations of the United States as set forth in 18

  U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a

  representative, to request or receive from any department or agency of the United States any

  records pertaining to the investigation or prosecution of this case, including without limitation

  any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the

  Privacy Act, 5 U.S.C. § 552a.

         7.      Immunity from Further Prosecution in This District

         The United States will not further criminally prosecute the defendant in the Eastern

  District of Virginia for the specific conduct described in the Indictment or Statement of Facts,

  except that the United States may prosecute the defendant for any crime of violence or

  conspiracy to commit, or aiding and abetting, a crime of violence not charged in the Indictment

  as an offense. In such a prosecution, the United States may allege and prove conduct described




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  in the Indictment or Statement of Facts.   Crime of violence” has the meaning set forth in 18

  U.S.C. § 16.

         8.      Dismissal of Other Counts


         As a condition of the execution of this agreement and the Court’s acceptance of the

  defendant’s plea of guilty, the United States will move to dismiss the remaining counts pending

  against this defendant at the conclusion of this defendant’s sentencing hearing.

         9.      Payment of Monetary Penalties

         The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613 and 18 U.S.C.

  § 3572, all monetary penalties imposed by the Court, including restitution, will be due

  immediately and subject to immediate enforcement by the United States as provided for in

  Section 3613. If the Court imposes a schedule of payments, the defendant understands that the

  schedule of payments is merely a minimum schedule of payments and not the only method, nor a

  limitation on the methods, available to the United States to enforce the judgment. Until all

  monetary penalties are paid in full, the defendant will be referred to the Treasury Offset Program

  so that any federal payment or transfer of returned property to the defendant will be offset and

  applied to pay the defendant’s unpaid monetary penalties. If the defendant is incarcerated, the

  defendant agrees to participate voluntarily in the Bureau of Prisons’ Inmate Financial

  Responsibility Program, regardless of whether the Court specifically directs participation or

  imposes a schedule of payments. Defendant agrees to make good-faith efforts toward payment

  of all monetary penalties imposed by the Court.

          10.    Special Assessment

          Before sentencing in this case, the defendant agrees to pay a mandatory special

  assessment of $100 per felony count of conviction, pursuant to 18 U.S.C. § 3013(a)(2)(A).




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          11.    Forfeiture Agreement

          rhe defendant understands that the forfeiture of assets is part of the sentence that must be


  imposed in this case. The defendant agrees to forfeit all interests in any firearms-related asset

  that the defendant owns or over which the defendant exercises control, directly or indirectly.


  This includes any property that is traceable to, derived from, fungible with, or a substitute for the

  following: property used in or involved in the offense.

         The defendant understands that if the assets subject to forfeiture arc not available to the

  United States to be forfeited, the Court must enter a forfeiture money Judgment in the amount of

  the unavailable assets. United States v. Blackman, 746 F.3d 137 (4th Cir. 2014).

         The defendant further agrees to waive all interest in the asset(s) in any administrative or

 judicial forfeiture proceeding, whether criminal or civil, state or federal. The defendant agrees to

  consent to the entry of orders of forfeiture for such property and waives the requirements of

  Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in the

  charging instrument, announcement of the forfeiture at sentencing, and incorporation of the

  forfeiture in the judgment. Defendant admits and agrees that the conduct described in the

  charging instrument and Statement of Facts provides a sufficient factual and statutory basis for

  the forfeiture of the property sought by the government.

          12.    Waiver of Further Review of Forfeiture


          The defendant further agrees to waive all constitutional and statutory challenges to

  forfeiture in any manner (including direct appeal, habeas corpus, or any other means) to any

  forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the


  forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by

  the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is




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  accepted as required by Rule 1 l(b)(l)(J). The defendant agrees to lake all steps as requested by

  the United Slates to pass clear title to ibrfeitable assets to the United Stales, and to testify

  truthfully in any judicial forfeiture proceeding. The defendant understands and agrees that all

  property covered by this agreement is subject to forfeiture as property used in or involved in the

  offense.


             13.    The Defendant’s Obligations Regarding Assets and Financial Investigation

          The defendant agrees to fully participate in the United States’ pre- and post-judgment

  financial investigation. Such participation includes the identification of assets in which the

  defendant has any legal or equitable interest to determine what assets may be available for

  payment to restitution, forfeiture, and/or any fine imposed in this case. The defendant agrees that

  the defendant’s financial information is subject to investigation and disclosure pre-judgment to

  the same extent as financial information will be subject to discovery after judgment is imposed.

  The defendant understands that 31 U.S.C. § 3711(h)(1) permits the United States to obtain the

  defendant’s credit report after sentencing and expressly authorizes the United States to obtain the

  defendant’s credit report prior to sentencing in this case. The defendant understands that the

  United States has sole discretion over whether it will obtain defendant’s credit report pursuant to


  this Plea Agreement. If the United States determines that it will obtain defendant’s credit report

  prior to sentencing pursuant to this Plea Agreement, the defendant authorizes the United States,

  and the United States agrees, to provide a copy to defense counsel upon request. The defendant

  understands that failure to participate in the financial investigation as described in this paragraph

  may constitute the defendant’s failure to accept responsibility under U.S.S.G § 3E1.1.

             Within 14 days of a request by the United States, or other deadline agreed upon by the

  parties, the defendant agrees to provide all information about all of the defendant’s assets and




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  financial interests to the United States and the Probation Office and, if requested, submit to a


  debtor’s examination, complete a financial disclosure statement under penalty of perjury, and/or

  undergo any polygraph examination the United States may choose to administer concerning such

  assets and financial interests. The defendant also agrees to provide or consent to the release of


  the defendant’s tax returns for the previous five years. The defendant understands that assets and

  financial interests subject to disclosure include assets owned or held directly or indirectly,

  individually or jointly, in which the defendant has any legal interests, regardless of title,

  including any interest held or owned under any other name, trusts, and/or business entities

  presently and since date of the first offense giving rise to this Plea Agreement, or giving rise to

  the charges presently pending against the defendant, whichever is earlier.

          The defendant shall identify all assets valued at more than $5,000 that have been

  transferred to third parties since the date of the first offense giving rise to this Plea Agreement,

  including the location of the assets and the identities of third parties to whom they were

  transferred. The defendant agrees not to transfer any assets valued at more than $5,000 without

  approval of the Asset Recovery Unit of the U.S. Attorney’s Office until the fine, forfeiture, and

  restitution ordered by the Court at sentencing are paid in full or otherwise terminated by

  operation of law. The defendant agrees to take all steps requested by the United States to obtain

  from any other parties by any lawful means any records of assets contemplated by this paragraph

  in which the defendant has or had an interest. Until the fine, forfeiture, and restitution ordered


  by the Court are paid in full or otherwise terminated by operation of law, the defendant agrees to

  notify the Asset Recovery Unit of the U.S. Attorney’s Office of a change in address within 30

  days of such change.




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         The United States will not use any truthful and complete information provided by the

  defendant pursuant to this paragraph for additional criminal offenses against the defendant in the

  Eastern District of Virginia, except in any prosecution for a crime of violence or conspiracy to

  commit, or aiding and abetting, a crime of violence (as dellned in 18 U.S.C. § 16). Pursuant to

  U.S.S.G. § IBl .8, no truthful information that the defendant provides pursuant to defendant’s

  obligations under this paragraph will be used in determining the applicable guideline range,

  except as provided in Section IB 1.8(b). Nothing in this agreement, however, restricts the

  Court’s or Probation Officers access to information and records in the possession of the United


  States. Furthermore, nothing in this agreement prevents the United States in any way from

  prosecuting the defendant should the defendant knowingly provide false, untruthful, or

  perjurious information or testimony, or from using information provided by the defendant in

  furtherance of any forfeiture action or restitution enforcement action, whether criminal or civil,

  administrative orjudicial.

         14.     Breach of the Plea Agreement and Remedies

         This Plea Agreement is effective when signed by the defendant, the defendant’s attorney,

  and an attorney for the United States. The defendant agrees to entry of this Plea Agreement at

  the date and time scheduled with the Court by the United States (in consultation with the

  defendant’s attorney). If the defendant withdraws from this agreement, or commits or attempts

  to commit any additional federal, state, or local crimes, or intentionally gives materially false,

  incomplete, or misleading testimony or information, or otherwise violates any provision of this

  agreement, then:

                 a.      The United States will be released from its obligations under this
                         agreement. The defendant, however, may not withdraw the guilty plea
                         entered pursuant to this agreement.




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                 b.     The defendant will be subject to prosecution for any federal criminal
                        violation, inclndinn. but not limited to. perjury and obstruction of justice,
                        that is not time-barred by the applicable statute of limitations on the date
                        this agreement is signed. Notwithstanding the subsequent expiration of
                        the statute of limitations, in any such prosecution, the defendant agrees to
                        waive any statute-of-limitations defense.

                 c.     Any prosecution, including the prosecution that is the subject of this
                        agreement, may be premised upon any information provided, or
                        statements made, by the defendant, and all such information, statements,
                        and leads derived therefrom may be used against the defendant. The
                        defendant waives any right to claim that statements made before or after
                        the date of this agreement, including the Statement of Facts accompanying
                        this agreement or adopted by the defendant and any other statements made
                        pursuant to this or any other agreement with the United States, should be
                        excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11 (f),
                        the Sentencing Guidelines, or any other provision of the Constitution or
                        federal law.


         Any alleged breach of this agreement by either party shall be determined by the Court in

  an appropriate proceeding at which the defendant’s disclosures and documentary evidence shall

  be admissible and at which the moving party shall be required to establish a breach of this Plea

  Agreement by a preponderance of the evidence.

         15.     Nature of the Agreement and Modifications

         This written agreement constitutes the complete plea agreement between the United

  States, the defendant, and the defendant’s counsel. The defendant and the defendant’s attorney

  acknowledge that no threats, promises, or representations have been made, nor agreements

  reached, other than those set forth in writing in this Plea Agreement or any associated documents

  filed with the Court, to cause the defendant to plead guilty. Any modification of this Plea




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  Agreement shall be valid only as set forth in writing in a supplemental or revised plea agreement

  signed by all parties.


                                                Jessica D. Aber
                                                United States Attorney


          Date:       '-Ijf-z.oiE)        By:
                                                Olivia L. Norman
                                                Assistant United States Attorney
                                                Katherine E. Groover
                                                Special Assistant United States Attorney




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           Defendant’s Signature: I hereby agree that 1 have consulted with my attorney and fully
  understand all rights with respect to the pending criminal Indictment. Further. 1 fully understand
  all rights with respect to 18 U.S.C. § 3553 and the provisions of the Sentencing Guidelines
  Manual that may apply in my case. I have read this Plea Agreement and carefully reviewed
  every part of it with my attorney. 1 understand this agreement and voluntarily agree to it.


   Date: I ^          JS
                                                WILLIAM THOMAS MORT'              , JR.,A.K.A.
                                                “SKILLET,”

           Defense Counsel’s Signature: I am counsel for the defendant in this case. I have fully
  explained to the defendant the defendant’s rights with respect to the pending Indictment.
  Further, I have reviewed 18 U.S.C. § 3553 and the Sentencing Guidelines Manual, and 1 have
  fully explained to the defendant the provisions that may apply in this case. I have carefully
  reviewed every part of this Plea Agreement with the defendant. To my knowledge, the
  defendant’s decision to enter into this agreement is an informed and voluntary one.


   Date:


                                                Assistant Federal Public Defender
                                                Counsel for the Defendant




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                                     U. S. DEPARTMENT OF JUSTICE
                                   Statemen! of Special Assessment Account

   This statement reflects your Special Assessment only. 'I'here may be other penalties imposed at
   sentencing.


                                         ACCOUNT INFORMATION

CRIM. ACTION NO.:                      3:24-cr-122-RCY-l

                                       WILLIAM THOMAS MORTON, JR., A.K.A. “SKILLET,
                                                                                                     ?>
DEFENDANT’S NAME:

PAY THIS AMOUNT:                       $200.00

   INSTRUCTIONS:


   1.   MAKE CHECK OR MONEY ORDER PAYABLE TO:


                   CLERK, U.S. DISTRICT COURT

   2.   PAYMENT MUST REACH THE CLERK’S OFFICE BEFORE YOUR SENTENCING DATE.


   3.   PAYMENT SHOULD BE SENT TO:



                                        In-Person (9 AM to 4 PM)            By Mail:

                                                             Clerk, U.S. District Court
    Alexandria Cases:                                         401 Courthouse Square
                                                               Alexandria, VA 22314


                                                             Clerk, U.S. District Court
    Richmond Cases:                                      701 East Broad Street, Suite 3000
                                                               Richmond, VA 23219


                                                             Clerk, U.S. District Court
    Newport News Cases:                                      2400 West Ave., Suite 100
                                                             Newport News, VA 23607


                                                             Clerk, U.S. District Court
    Norfolk Cases:                                              600 Granby Street
                                                                 Norfolk, VA 23510


   4.   INCLUDE DEFENDANT’S NAME ON CHECK OR MONEY OIHIER.


   5.   ENCLOSE THIS COUPON TO ENSURE PROPER AND PROMPT APPLICATION OF
        PAYMENT.
